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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

PREMIUM EXPRESS, INC.,                       )
          Plaintiff,                         )       Case No. 18 CV 2141
                                             )
       v.                                    )
                                             )      Judge Gary Feinerman
KING’S EXPRESS INC., and                     )
DENNIS McCORMICK,                            )
INFINITY LOGISTICS, INC.                     )
           Defendants.                       )

   PLAINTIFF’S MOTION FOR JUDGMENT ON THE ANSWER OF THIRD
      PARTY CITATION RESPONDENT AND TURNOVER OF FUNDS

       NOW COMES the Plaintiff, Premium Express, Inc., by and through its attorneys,

Sullivan Hincks & Conway, and in support of Plaintiff’s Motion for Judgment on the

Answer of Third Party Citation Respondent, Wells Fargo Bank, N.A., and for Turnover

of Funds, states as follows:

       1.      On July 17, 2018, Judgment was entered in this Court in favor of the

Plaintiff, Premium Express, Inc. (hereinafter “Plaintiff”), and against, as relevant here,

Dennis McCormick (“McCormick”), in the total amount of $145,838.75. See Exhibit A

[Docket 17]. Since the date of the Judgment and service of the Citation to Discover

Assets, Plaintiff has been able to collect some amounts against the amounts due. There is

now due, less credit and off-set, the sum of $129,863.00 (Judgment Balance against

Dennis McCormick).

       2.      A Citation to Discover Assets was served on Third Party Wells Fargo

Bank, N.A. (hereinafter “Wells Fargo”) on July 24, 2018, and a Notice of Citation was

mailed via first class mail to McCormick at his addresses at 19466 Woodlands Drive,

Huntington Beach, CA and 2525 16th Ave SE, Saint Cloud, MN along with a copy of the



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Judgment. See Plaintiff’s Affidavit of Service and Certificate of Mailing, attached hereto

as Exhibit B.

       3.        Wells Fargo served its Answer, received on August 2, 2018, indicating

that Wells Fargo is in possession of non-exempt funds belonging to Mr. McCormick and

indicating that $80,494.20 in a checking account was being withheld. See Wells Fargo’s

Answer, attached hereto as Exhibit C.

       4.        Supplementary proceedings to enforce a judgment are governed by

Federal Rule of Civil Procedure 69(a) which provides that a district court is to use state

procedure governing the execution of any such judgment. Fed. R. Civ. P. 69(a).

       5.        Section 5/2-1402 of the Illinois Code of Civil Procedure provides that

when assets of a judgment debtor not exempt from the satisfaction of a judgment are

discovered, a court may enter an order or judgment compelling the person cited to deliver

said assets. 735 ILCS 5/2-1402.

       6.        As such, the Plaintiff is entitled to the non-exempt property of

McCormick, the Judgment Debtor, in partial satisfaction of the Judgment Balance

remaining due.

       WHEREFORE, the Plaintiff, Premium Express, Inc., respectfully requests that

this Court enter a Judgment on its Third Party Citation and order Third Party Citation

Respondent, Wells Fargo, to turnover to Plaintiff in partial satisfaction of the judgment,

the property of judgment debtor, Dennis McCormick, in the amount of $80,494.20, and

for such other relief that this Court deems just and proper.




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                                            Respectfully submitted,
                                            Premium Express, Inc.


                                      By:   /s Matthew P. Barrette
                                            One Of Its Attorneys
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